                        UNITED STATES DISTRICT COURT
                        EASTERN DISTRICT OF TENNESSEE

 BRANDON D. GASH, HARRY GASH,     )
 and SHERYL GASH,                 )
                                  )
            Plaintiffs,           )
                                  )
 v.                               )                 No.:   1:19-CV-112-TAV-SKL
                                  )
 BRADLEY COUNTY GOVERNMENT, )
 QUALITY CORRECTIONAL             )
 HEALTHCARE, ERIC WATSON,         )
 and GABE THOMAS,                 )
                                  )
            Defendants.           )
                                  )
                                  )
 HARRY GASH and SHERYL GASH,      )
 b/n/k ESTATE OF BRANDON D. GASH, )
                                  )
            Plaintiffs,           )
                                  )
 v.                               )                 No.    1:19-CV-229-TAV-SKL
                                  )
 SHEILA GOINS, JOSH BROWN,        )
 DHAVAL PATEL, TASHA BOWERS,      )
 DAVID BRANSON, CAROL THOMAS, )
 SCOTT DOVE, ANDERSON SAUNDERS, )
 SAM PAINTER, and CITY            )
 OF CLEVELAND,                    )
                                  )
            Defendants.           )


                                        ORDER

       These matters are before the Court on the Plaintiffs’ motion to consolidate filed in

 case number 1:19-CV-112 [Doc. 22] and motions to dismiss Plaintiff’s original complaint




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 filed in case numbers 1:19-CV-112 [Docs. 11, 14, 18] and 1:19-CV-229 [Doc. 9]. The

 Court will address these filings in turn.

 I.     MOTION TO CONSOLIDATE

        As set forth above, Plaintiffs have filed a motion to consolidate these cases. Federal

 Rule of Civil Procedure 42(a) permits the Court to consolidate cases that present common

 questions of law or fact. The Court finds that these cases present common questions of law

 and fact, and the Court finds that it is appropriate to consolidate the two actions.

 Accordingly, the Court finds that the motion to consolidate in case number 1:19-CV-112

 [Doc. 22] is well taken, and will be GRANTED.

 II.    MOTIONS TO DISMISS

        Also as set forth above, several Defendants filed motions to dismiss Plaintiff’s

 original complaint in case number 1:19-CV-112 [Docs. 11, 14, 18] and case number 1:19-

 CV-229 [Doc. 9]. However, Plaintiff subsequently filed an amended complaint in each

 case, which several Defendants have also moved to dismiss in case numbers 1:19-CV-112

 [Docs. 24, 26, 29] and 1:19-CV-229 [Docs. 13, 15]. Thus, the motions to dismiss

 Plaintiff’s original complaint will be DENIED as moot.

 III.   CONCLUSION

        For the reasons set forth above:

        1.     Plaintiffs’ motion to consolidate in case number 1:19-CV-112 [Doc. 22] is
               GRANTED. Accordingly, the cases are CONSOLIDATED with case
               number 1:19-cv-112 being designated as the lead case because it is the first-
               filed of the two cases. All future filings are to be made only in the lead case
               and the Clerk is DIRECTED to administer these cases as consolidated for
               all future proceedings; and
                                              2


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       2.    The motions to dismiss Plaintiff’s original complaint in case number
             1:19-CV-112 [Docs. 11, 14, 18] and case number 1:19-CV-229 [Doc. 9] are
             DENIED as moot.

       IT IS SO ORDERED.


                                s/ Thomas A. Varlan
                                UNITED STATES DISTRICT JUDGE




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